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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                 Order of Continuance

                           v.                             24 Mag. 4375

 LUIGI NICHOLAS MANGIONE,

                                Defendant.


       Upon the application of the United States of America and the affirmation Dominic A.

Gentile, Assistant United States Attorney for the Southern District of New York, it is found that

defendant Luigi Nicholas Mangione was charged with violations of 18 U.S.C. §§ 2261A(1)(A),

2261A(2)A), 2261(b)(1), 924(j), and 924(c), in a complaint dated December 18, 2024, and was

arrested on December 19, 2024;

       It is further found that the defendant was presented before Magistrate Judge Katharine H.

Parker on December 19, 2024, and ordered detained pending trial without prejudice to making a

future bail application;

       It is further found that given the nature of the prosecution, the Government, with the

consent of defense counsel, Karen Friedman Agnifilo, Esq. and Marc Agnifilo, Esq., has requested

a continuance of 30 days to permit both parties adequate preparation for pretrial proceedings and

the trial itself and that the defendant, through counsel, has consented that such a continuance may

be granted for that purpose, specifically to an extension of the deadlines under Rule 5.1 of the

Federal Rules of Criminal Procedure and 18 U.S.C. § 3161(b) for an additional 30 days; and

       It is further found that the granting of such a continuance best serves the ends of justice

and outweighs the best interests of the public and the defendant in a speedy trial; and therefore it

is
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       ORDERED that the request for a continuance pursuant to Rule 5.1(d) of the Federal Rules

of Criminal Procedure and 18 U.S.C. § 3161(h)(7)(A) is hereby granted until February 17, 2025,

and that a copy of this Order and the affirmation of Assistant United States Attorney Dominic A.

Gentile be served on counsel for the defendant by the United States Attorney=s Office.

Dated: New York, New York
       January 6, 2025



                                            ____________________________________
                                            UNITED STATES MAGISTRATE JUDGE
